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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DOGGIE DENTAL INC, et al.,                                       Civil Action No.

                              Plaintiffs,                             19-746

v.                                                               (Judge Hornak)

MAX_BUY, et al.,

                              Defendants.




                          NOTICE OF VOLUNTARY DISMISSAL



       PURSUANT TO Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs,

through their undersigned attorneys, hereby gives notice of the voluntary dismissal with

prejudice of all claims against Defendant, warehousedeals365, with each party to bear its own

attorneys’ fees, costs, and expenses. The dismissed Defendant has neither answered Plaintiff’s

Complaint nor filed a responsive pleading. Accordingly, this Defendant may be voluntarily

dismissed and without a court order under Rule 41(a)(1)(A)(i).

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                                   Respectfully submitted,



Dated: August 21, 2019             /s/ Brian Samuel Malkin
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